Case 2:17-cv-00572-PAM-MRM Document1-1 Filed 10/17/17 Page 1 of 2 PagelD 11

896 Limpet Drive
Sanibel, Florida 33957
September 5, 2017
Mr. Kyle Langbehn, General Manager Mr. Nick Stickler, President
MarineMax Boston Whaler, Inc.
2600 McCormick Drive, Suite 200 100 Whaler Way
Clearwater, FL 33759 Edgewater, FL 32141
Mr. Ryan West Mercury Marine / Legal Dept.
MarineMax W6250 Pioneer Road
14030 McGregor Blvd. P.O. Box 1939
Ft. Myers, FL 33919 Fond du Lac, WI 54936-1939
cc: Kyle Pillsbury
MarineMax
14030 McGregor Blvd.

Ft. Myers, FL 33919

RE: 2015 Boston Whaler 35 ft. Outrage
Glenn Baker

Gentlemen:

This letter is a complaint and a request for rescission as pertains to my purchase of a 2015 35 ft.
Boston Whaler Outrage (HIN BWCE1304B515) from the MarineMax dealership in Ft. Myers,
Florida.

The boat was delivered on May 8, 2015 as a new vessel. Presently, it is situated at the MarineMax
Ft. Myers facility. I took the boat there on August 2, 2017, a period of 26 months after delivery. My
personal items were removed and the dealership was made aware that I was “done with the boat, no
longer trusted it, and wanted it bought back by MarineMax/Whaler/Mercury/Brunswick.”

The boat was sold to me with a defective steering system that was known by the companies prior to
delivery and not disclosed to me at time of sale. Two weeks following delivery I received
notification of recall and the potential of defective parts (notice of recall attached).

Following the above notification, I have had an egregious amount of failures with the steering
system and a lengthy history of failed attempts for corrective action (seven incidences that rendered
the boat inoperable). Every scheduled trip that involved family or friends out of the Sanibel area

was disrupted by the steering failures. The vessel was stranded in Bradenton, Florida in the first six
months. It broke down in Ft. Lauderdale, Florida. It broke down eight miles off shore in the Gulf of
Mexico. Further to this, there were break downs at my home in Sanibel.
Case 2:17-cv-00572-PAM-MRM Document1-1 Filed 10/17/17 Page 2 of 2 PagelD 12

September 5, 2017
Page Two

At all times during the course of this ownership experience MarineMax has seemingly been open to
discuss the issue and its proximate cause. Attempts have been made to take corrective action.

On June 14, 2017, my wife and I drove to the Whaler factory in Edgewater to view a new model
(38°) in production. While there I mentioned my problems with the Vrado/Joystick system. I was
advised that they were aware of my boat’s history and that Mercury had “finally found the root cause
and that replacement parts would soon be available.” On June 19, I received a phone call from a
Mercury representative in Wisconsin telling me that Whaler had contacted them and that they were
shipping the parts for all three engines to Ft. Myers for installation by MarineMax.

On July 18, 2017, the installation of the “final fix” was completed and the boat was tested.
Accordingly, I flew my family from Columbus, Ohio for a week of fishing beginning August 2,
2017. Eight miles off shore the system failed with all of the same symptoms that had been occurring
from the beginning. I limped to port on one engine and returned the vessel to MarineMax.

The vessel cannot and should not be sold to a third party without disclosure of the continued history
of failures and inability of the manufacturer and dealer to perform corrective action.

It is my belief that the above scenario is covered by the Florida Deceptive and Unfair Trade Act. I
am aware of the remedies that are provided under the Act. I have contacted Florida counsel but have
not elected to retain them as such if the matter is resolved. Ryan West of MarineMax has advised

me that he has presented the situation to Whaler and to Mercury. The last communication was
Friday, September 1*' advising me that Whaler has not responded.

The total price paid for the boat including taxes was $476,655.73. Nothing less than that is acceptable

Please advise as to your decision in writing no later than 15 days following the date of this letter.
Otherwise, I will have no choice but to engage counsel.

Below, I have provided my contact information.

Thank you for your timely consideration.

Very truly yours,
- 14 7 a
Glenn Baker
Residence Address: Other Address:
896 Limpet Drive 1550 Roxbury Road
Sanibel, FL 33957 Columbus, OH 43212

Email: gbaker@sealimited.com Phone: (614) 561-1503
